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IN THE UNITED STATES DISTRICT C URT CASHIERS
FOR TI~IE SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

ANDREW BLUM and ZAQ HARRISON,
individually and on behalf of all others similarly

situated,
Plain'fiff$, CLASS AND COLLECTIVE
ACTI()N COMPLAINT
v.
Jury Trial Demanded

MERRILL LYNCH & CO., INC.; MERRILL
LYNCH, PIERCE, FENNER & SMITH, INC.,
and BANK OF AMERICA CORPORATION,

Defendants.

 

 

Plaintiffs Andrew Blum and Zaq Harrison (“Plaintiffs”), individually and on behalf of all
others similarly situated, by their attorneys at Outten & Golden LLP and Shavitz Law Group,
P.A., allege, upon personal knowledge as to themselves and upon information and belief as to

other matters, as follows:
PRELIMINARY STATEMENT

l. Plaintiffs, former Financial Advisor Trainees employed by Defendants Merrill

 

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Lynch & Co., lne.; l\/Ierrill Lynch, Picrce, Fenner & Smith, lnc.; and Bank of Arnerica
Corporation (collectively “Defendants”) in the “Development Stage” of Defendants’ Practice
Management Development (“PMD”) Program who were paid on a salary basis, bring this action
on behalf of themselves and other similarly situated current and former salaried Financial
Advisor Trainees and persons in similar positions regardless of their precise titles who performed
Work for Defendants while in the Development Stage of the PMD Program (collectively,
“Development Stage Trainees”).

2. Defendants unlawfully denied Development Stage Trainees pay for overtime
hours they worked in violation of the Fair Labor Standards Act (“FLSA”) and state law.

3. Defendants Merrill Lynch & Co., lnc. and i\/lerrill Lynch, Pierce, Fenner & Smith,
lnc., wholly~owned subsidiaries of Bank of America Corporation, provide financial and
investment services to customers across the United States, and manage over $2 trillion in client
assets.

4. Defendant Bank of America Corporation is one of the largest banks in the United

States and one of the largest brokerage firms in the world.

5. Defendants have employed Development Stage Trainees at their locations
nationwide
6. Pursuant to corporate policies formulated in whole or in part at Defendants’

headquarters in New York, and applicable at Defendants’ locations nationwide, Defendants have
misclassified Developmcnt Stage Trainees as exempt from federal overtime pay requirements

7. Pursuant to corporate policies formulated in whole or in part at Defendants’
headquarters in New York, and applicable at Defendants’ locations nationwide, Defendants have

encouraged and required Development Stage Trainees to work more than 40 hours per

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workweek, but have not compensated them for all of their hours worked

8. By the conduct described in this Class and Collective Action Complaint,
Defendants have willfully violated the FLSA and state law by failing to pay their employees,
including Plaintiffs, proper wages as required by law.

9. Plaintiffs seek to recover unpaid wages that Defendants owe them and similarly
situated current and former Development Stage Trainees. They bring this action under the
FLSA, 29 U.S.C. §§ 201 et seq., on behalf of themselves and all similarly situated current and
former Development Stage Trainees who elect to opt into this action pursuant to the collective
action provision ofthe FLSA, 29 U.S.C. § 216(b).

l0. Plaintiff Zaq Harrison (the “Maryland Plaintiff’) also brings this action on behalf
of himself and all similarly situated current and former Development Stage Trainees who worked
for Defendants in Maryland pursuant to Federal Rule of Civil Procedure 23 to remedy violations
of the l\/laryland Wage and Hour Law, l\/id. Code Ann. Labor & Employment §§ 3-401 et seq.
and the l\/Iaryland Wage Payment and Collection Law, Md. Code Ann. Labor & Employment §§
3-501 el seq.

ll. On or about August 18, 2014, Plaintiffs and Defendants entered into a tolling
agreement to toll the statute of limitations on any claim under the FLSA or l\/laryland state wage
and hour law for Plaintiffs and those Development Stage Trainees or employees in similar job
positions with different titles who worked for Defendants in the United States, effective as of
August 5, 2014.

JURISDICTION AND VENUE

l2. T his Court has federal question jurisdiction over Plaintiffs’ claims pursuant to 28

U.S.C.§133l.

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13. ln addition, the Court has jurisdiction over Plaintiffs’ claims under the FLSA
pursuant to 29 U.S.C. § 216(b).

14. This Court has jurisdiction over the state law claims under 28 U.S.C. § 1367
because the state law claim and the federal claim are so closely related that they form part of the
same case or controversy under Article 111 of the United States Constitution.

15. This Court also has jurisdiction over Plaintiffs’ state law claims under 28 U.S,C. §
1332(d). There are more than 100 members of the proposed class. At least some of the members
of the proposed class are citizens of a different state than Defendants The claims of the
proposed class members exceed $5,000,000 in the aggregate, exclusive of interest and costs.

16. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.
§§ 2201 and 2202.

17. Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §
1391(b) because Defendants regularly conduct business and are subject to the Court’s personal
jurisdiction iii this Disiiici.

THE PARTIES
Plaintiffs
Plaintijj”Andrew Blum

18. Plaintiff Andrew Blum (“Blum”) is resident of Stuart, Florida.

19. Blum was directly employed by Defendants in their Pl\/ID Program from
approximately November 201 l to November 2012. He was a Developnient Stage Trainee
beginning in approximately l\/larch 2012 for approximately three months l\/ierrill Lynch, Pierce,
Fenner & Smith, Inc. was the entity listed on Blum’s W-2s.

20. Blurn worked for Defendants in one of its locations in Stuart, Florida.

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21. Blum’s primary duties as a Development Stage Trainee included inside sales and
customer service.

22. Blum exercised little or no independent discretion and judgment in performing his
primary duties

23. Pursuant to a centralized, company~wide policy, pattern, and/or practice set in
whole or in part at Defendants’ headquarters in New York, Defendants misclassified Blum as
exempt from federal overtime

24. Pursuant to Defendants’ policy, pattern, and/or practice, Blum regularly worked
more than 40 hours in a workweek but was not compensated for overtime hours worked

25. Throughout his employment with Defendants, during almost every week that
Blum worked for Defendants, he worked from approximately 8:00 a.m. to 6:00 p.m., l\/londay
through Friday.

26. Throughout his employment with Defendants, in addition to his regular schedule,
Blum attended client prospecting functions in the evening approximately two to three times per
week, which lasted for approximately two to four hours per function Approximately once per
weekend, Blum also attended client prospecting functions, which lasted between approximately
two and eight hours.

27. 'fhi'ougliout his employment with Defendants, Blum regularly worked through his
lunch breaks.

28. Defendants failed to keep accurate records of the hours that Blum worked

29. Blum is aware of the hours that other Development Stage Trainees worked
because he worked alongside other Development Stage Trainees, regularly communicated with

other Development Stage Trainees, and attended prospecting functions with other Development

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Stage Trainees.

30. A written consent to join form for Blum is attached hereto as Exhibit A.
PlaintiffZaq Harrison

31. Plaintiff Zaq Harrison (“Harrison”) is a resident of Baltimore, l\/Iaryland.

32. l~larrison was directly employed by Defendants in their PMD Program from
approximately October 2011 to December 2012. He was a Development Stage Trainee
beginning in approximately December 201 1 for approximately three months l\/lerrill Lynch,
Pierce, Fenner & Smith, lnc. was the entity listed on Hairison’s W-2s.

33. Harrison worked for Defendants at one of its locations in Towson, 1\/1aryland.

34. Harrison’s primary duties as a Development Stage Trainee included inside sales
and customer service.

35. Harrison exercised little or no independent discretion and judgment in performing
his primary duties.

36. Pursuant to a centralized, company-wide policy, pattern, and/or practice set in
whole or in part at Defendants’ headquarters in New York, Defendants misclassified Harrison as
exempt from federal and state overtime

37. Pursuant to Defendants’ policy, pattern, and/or practice, liarrison regularly
worked more than 40 hours in a workweek but was not compensated for overtime hours worked

38. Throughout his employment with Defendants, during almost every week that
Hairison worked for Defendants, he worked from approximately 7:20 a.m. to 8:00 p.m., Monday
through Thursday and from approximately 7:20 a.m. to 5:00 p.m. on Fridays. ln addition, he

typically worked from approximately 12:00 p.m. to 8:00 p.m. on Sundays.

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39. "l`hroughout his employment with Defendants, on average, approximately once
per week, Harrison participated in call nights from approximately 5:00 p.m. to 9:00 p.m.
Additionally, on average, approximately one to two times per week, Harrison attended client
prospecting functions from approximately 7:00 p.m. to 10:00 p.m. On the evenings that he
participated in these call nights and client prospecting functions, Harrison typically worked one
to two hours beyond his regular schedule

40. Throughout his employment with Defendants, Harrison regularly worked through
his lunch breaks

41. Defendants failed to keep accurate records of the hours that Harrison worked

42. Harrison is aware of the hours that other Development Stage Trainees worked
because he worked alongside other Development Stage Trainees and often spoke to and shared
information with these other Development Stage Trainees about their work for Defendants

43. A written consent to join form for Harrison is attached hereto as Exhibit B.
Defendants
Defendant Merrill Lynclz & Co., Inc.

44. Upon information and belief, Defendant Merrill Lynch & Co., inc. is a Delaware
corporation doing business within New York County in the State of New York. l\/lerrill Lynch &
Co., Inc. is a wholly owned subsidiary of Bank of America Corporation.

Defendant Merrill Lynch, Pierce, F elmer & Smitlz, Inc.

45. Upon information and belief, Defendant Merrill Lynch, Pierce, Fenner & Smith,
lnc. is a Delaware corporation doing business within New York County in the State of New York
and maintains corporate headquarters within the City and County of New York at 4 World

Financial Center, New York, New York 10080. l\/lerrill Lynch, Pierce, Fenner & Smith, lnc. is a

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wholly-owned subsidiary of Bank of America Corporation and Merrill Lynch & Co., lnc.
Defendant Bank of America Corporation

46. Upon information and belief, Defendant Bank of America Corporation is a
Delaware corporation doing business within New York County in the State ochw York.

47. During all relevant times, each Defendant employed or acted in the interest of an
employer towards Plaintiffs and other similarly situated current and former Development Stage
Trainees, and directly or indirectly, jointly or severally, including without limitation, directly or
indirectly controlled and directed the terms of employment and compensation of Plaintiffs and
other similarly situated current and former Development Stage Trainees. Upon information and
belief, Defendants operate in concert and together in a common enterprise and through related
activities, as here relevant, so that the actions of one may be imputed to the other and/or so that
they operate as joint employees within the meaning of the FLSA and l\/laryland law.

48. Each Defendant had the power to control the terms and conditions of employment
of Plaintiffs and other similarly situated current and former Development Stage Trainees,
including without limitation, those terms and conditions relating to the claims alleged herein.

49. During all relevant times, Defendants were Plaintiffs’ employer or joint employer
within the meaning of all applicable statutes

50. Upon information and belief, at all times pertinent hereto, each Defendant has
employed more than five hundred people.

COLLECTIVE ACTION ALLEGATI()NS

51. Plaintiffs bring the First Cause of Action, pursuant to the FLSA, 29 U.S.C. §

216(b), on behalf of themselves and all similarly situated persons who elect to opt into this action

who work or have worked for Defendants as Development Stage Trainees nationwide on or after

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August 5, 2011 (the “Collective”).

52. Plaintiffs are similarly situated to other Development Stage Trainees.

53. Defendants subjected Plaintiffs and other Development Stage Trainees to the
same unlawful compensation policies including, but not limited to classifying them as exempt
from the protections of the FLSA, encouraging them to work overtime hours without
compensation, and failing to compensate them for overtime hours they worked

54, Plaintiffs and other Development Stage Trainees had the same or similar primary
job duties »~ namely, inside sales and customer service

55. Defendants are liable under the FLSA for, inter alia, failing to properly
compensate Plaintiffs and other Development Stage Trainees. There are many similarly situated
current and former Development Stage Trainees who have been underpaid in violation of the
FLSA who would benefit from the issuance of a court-supervised notice regarding the present
lawsuit and the opportunity to join it. Those similarly situated employees are known to
Defendants, are readily identifiable, and can be located through Defendants’ records, such that
notice should be sent to them pursuant to 29 U.S.C. § 216(b).

CLASS ACTION ALLEGATI()NS
lee Marylancl Class

56. l\/Iaryland Plaintiff brings the Second Cause of Action pursuant to F ederal R.ule of
Civil Procedure 23, on behalf of himself and all persons who have worked for Defendants as
Development Stage Trainees in l\/Iaryland between August 5, 2011 and the date of final judgment
in this matter (the “Maryland Class”).

57.' Excluded from the Maryland Class are Defendants, Defendants’ legal

representatives, officers7 directors, assigns, and successors, or any individual who has, or who at

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any time during the class period has had, a controlling interest in Defendants; the Judge(s) to
whom this case is assigned and any member of the Judges’ immediate family; and all persons
who will submit timely and otherwise proper requests for exclusion from the l\/laryland Class.

58. "l`he members of the l\/laryland Class are so numerous that joinder of all members
is impracticable

59. Upon information and belief, the size of the l\/Iaryland Class is at least 50
individuals Although the precise number of such employees is unknown, the facts on which the
calculation of that number depends are presently Within the sole control of Defendants

60. Defendants have acted or have refused to act on grounds generally applicable to
the l\/laryland Class, thereby making appropriate final injunctive relief or corresponding
declaratory relief with respect to the l\/iaryland Class as a Whole.

61. Common questions of law and fact exist as to the Maryland Class that predominate
over any questions only affecting them individually and include, but are not limited to, the following:

a. whether Defendants violated the Maryland Wage and Hour Law, l\/ld.

Code Ann. Labor & Employment §§ 3~401 et seq. and the l\/Iaryland Wage
Payment and Collection Law, l\/ld. Code Ann. Labor & Employment §§ 3~

501 el'seq.;

b. whether Defendants failed to compensate l\/iaryland Plaintiff and the
l\/laryland Class for hours worked in excess of40 hours per workweek;

c. whether Defendants misclassifred l\/laryland Plaintiff and members of the
Maryland Class;

d. whether Defendants’ policy and pattern or practice of classifying

Maryland Class l\/lembers as exempt from overtime entitlement under
Maryland law and Defendants’ policy and pattern or practice of failing to
pay overtime to l\/laryland Class Members violate applicable provisions of
Maryland law, including applicable statutory and regulatory authority;

c. whether Defendants unlawfully failed to keep records of the hours worked
by l\/laryland Plaintiff and the l\/laryland Class members in violation of the
Maryland Wage and Hour Law, Md. Code Ann. Labor & Employment §
3-424;

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f. whether Defendants unlawfully failed to pay the l\/Iaryland Plaintiff and
l\/laryland Class members all wages due within the time required by law
after their employment ended in violation of the l\/laryland Wage Payment
and Collection Law, l\/id. Code Ann. Labor & Employment § 3-505; and

g. the nature and extent of l\/laryland Class l\/Iembers’ injuries and the
appropriate measure of damages for Maryland Class Members.

62. l\/laryland Plaintiff`s claims are typical of the claims of the Maryland Class he
seeks to represent Maryland Plaintiff and all members of the Maryland Class work, or have
worked, for Defendants as Development Stage Trainees in the state of Maryland. Maryland
Plaintiff and members of the l\/taryland Class enjoy the same statutory rights under Maryland law to
be paid overtime wages. Maryland Plaintiff and members of the Maryland Class have all
sustained similar types of damages as a result of Defendants’ failure to comply with the l\/laryland
Wage Laws. Maryland Plaintiff and the members of the Maryland Class have all been injured in
that they have been uncompensated or under-compensated due to Defendants’ common policies,
practices, and patterns of conduct

63. l\/[aryland Plaintiff will fairly and adequately represent and protect the interests of
the members of the l\/iaryland Class. l\/laryland Plaintiff understands that as a class representative
he assumes a fiduciary responsibility to the class to represent its interests fairly and adequately
l\/laryland Plaintiff recognizes that as a class representative he must represent and consider the
interests of the class just as he would represent and consider his own interests Maryland Plaintiff
understands that in decisions regarding the conduct of the litigation and its possible settlement, he
must not favor his own interests over the interests of the class Maryland Plaintiff recognizes that
any resolution of a class action must be in the best interest of the class. l\/laryland Plaintiff
understands that in order to provide adequate representation, he must be informed of developments
in litigation, cooperate with class counsel, and testify at deposition and/or trial. l\/laryland Plaintiff

has retained counsel competent and experienced in complex class actions and employment

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litigation "f here is no conflict between l\/laryland Plaintiff and the Maryland Class members

64. A class action is superior to other available methods for the fair and efficient
adjudication of this litigation The members of the l\/laryland Class have been damaged and are
entitled to recovery as a result ofDefendants’ violation of the l\/laryland Wage Laws as well as
its common and uniform policies, practices, and procedures Although the relative damages
suffered by individual members of the 1\_/laryland Class are not de minimis such damages are
small compared to the expense and burden of individual prosecution of this litigation The
individual Maryland Plaintiff lacks the financial resources to conduct a thorough examination of
Defendants’ timekeepirrg and compensation practices and to prosecute vigorously a lawsuit
against Defendants to recover such damages ln addition, class litigation is superior because it
will obviate the need for unduly duplicative litigation that might result in inconsistent judgments
about Defendants’ practices

65. This action is properly maintainable as a class action under Federal Rule of Civil
Procedure 23(b)(3).

COMMON FACTUAL ALLEGATIONS

66. i`lre primary duties of all Development Stage Trainees include inside sales and
customer service.

67. During the Development Stage of the Pl\/ID Program, Development Stage
Trainees are expected to engage primarily in lead generation activities: identifying potential
clients, qualifying potential clients, calling potential clients, and conducting appointments with
potential clients to encourage them to do business with Defendants

68. Development Stage Trainees exercise little or no independent discretion and

judgment in performing their primary duties

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69. Pursuant to a centralized, company~wide policy, pattern, and/or practice set in
whole or in part at Defendants’ headquarters in New York, Defendants classified all of their
Development Stage 'frainees as exempt from federal overtime protections regardless of where
they worked

70. Defendants did not perform a person»by-person analysis of each Development
Stage '1`rainee’s job duties in making their decision to classify all of their Development Stage
Trainees as exempt from federal overtime protections

71. As a result of their decision to classify Development Stage Trainees as exempt
from federal overtime protections Defendants failed to pay Plaintiffs and other Development
Stage Trainees for any of the hours they worked over 40 in a workweek.

72. Defendants failed to keep accurate records of the hours that Plaintiffs and other
Development Stage Trainees worked

73. Throughout the relevant period, it has been Defendants’ policy, pattern, and/or
practice to require, suffer, or permit Plaintiffs and other Development Stage Trainees to work in
excess of their scheduled hours without paying them for all hours worked, including overtime
hours worked

74. Development Stage Trainees regularly worked through their lunch breaks

75. Defendants regularly required Development Stage Trainees to stay several hours
beyond their regular schedules to participate in meetings with bank staff, participate in “call
nights,” and/ or attend client prospecting events

76. All of the work that Plaintiffs and other Development Stage Trainees have
performed has been assigned by Defendants, and/or Defendants have been aware or should have

been aware of all of the work that Plaintiffs and other Development Stage Trainees have

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performed

77. As part of their regular business practice, Defendants have intentionally, willfully,
and repeatedly engaged in a policy, pattern, and/or practice of violating the FLSA. This policy,
pattern, and/or practice includes but is not limited to:

a. willfully rnisclassifying Plaintiffs and other Development Stage Trainees
as exempt;

b. willfully failing to pay Plaintiffs and other Development Stage Trainees
proper overtime wages for hours that they worked in excess of 40 hours in
a workweek; and

c. willfully failing to record and properly compensate for all of the time that
Plaintiffs and other Development Stage Trainees have worked for the
benefit of Defendants

78. Defendants are aware or should have been aware that the FLSA requires them to
pay Plaintiffs and other Development Stage Trainees for all hours worked, and to pay them an
overtime premium for hours worked in excess of 40 hours per workweek.

79, Defendants’ conduct alleged herein has been widespread, repeated, and
consistent, and it is contrary to the FLSA.

80. Development Stage Trainees were paid on a purported salary basis and therefore,
were not paid an overtime premium for any hours worked over 40 per workweek.

81. Defendants classified Development Stage Trainees as exempt workers

FIRST CAUSE OF ACTI()N

FLSA: Unpaid ()vertime Wages
Brought by Plaintiffs Individually and on Behalf of the Collective

82. Plaintiffs reallege and incorporate by reference all allegations in all preceding
paragraphs
83. At all relevant times, Plaintiffs and other similarly situated current and former

Development Stage Trainees were engaged in commerce and/or the production of goods for

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commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

84. The overtime wage provisions set forth in §§ 201 er seq. of the FLSA apply to
Defendants

85. Defendants were and are employers ofPlaintiffs and other similarly situated
current and former Development Stage Trainees and are engaged in commerce and/or the
production of goods for commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

86, At all relevant times, Plaintiffs and other similarly situated current and former
Development Stage Trainees were and are employees within the meaning of 29 U.S.C. §§ 203(e)
and 207(a).

87. Defendants have failed to pay Plaintiffs and other similarly situated current and
former Development Stage Trainees the wages to which they were entitled under the FLSA.
Defendants have also failed to properly calculate Plaintiffs’ and other similarly situated current
and former Development Stage Trainees’ regular rate by failing to include bonuses and/or other
incentive pay in their regular and overtime rates of pay in violation of the FLSA.

88. Defendants’ violations of the FLSA, as described in this Class and Collective

Action Complaint, have been willful and intentional.

89. Because Defendants’ violations of the FLSA have been willful, a three~year
statute of limitations applies, pursuant to 29 U.S.C. § 255, as it may be tolled or extended by
agreement, equity or operation of law.

90. As a result of Defendants’ willful violations of the FLSA, Plaintiffs and other
similarly situated current and former Development Stage 'frainees have suffered damages by

being denied wages in accordance with 29 U.S.C. §§ 201 et Seq., in amounts to be determined at

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trial or through undisputed record evidence, and are entitled to recovery of such amounts
liquidated damages prejudgment interest, attorneys’ fees, costs, and other compensation
pursuant to 29 U.S.C. § 216(b).
SEC()ND CAUSE OF AC'I`I()N
Maryland Wage and Hour Law, Md. Code Ann. Labol' & Employment §§ 3-401, et seq.:
Unpaid ()vertime Wages
Brought on behalf of Maryland Plaintiff and the Maryland Class

91. Maryland Plaintiff, on behalf of himself and all members of the l\/laryland Class,
realleges and incorporates by reference all preceding paragraphs as if they were set forth again
herein.

92. The foregoing conduct, as alleged, violates the l\/laryland Wage and Hour Law,
Md. Code Ann. liabor & Employment §§ 3-401, et Seq, and Maryland Wage Payment and
Collection Law, Md. Code Ann. Labor & Employment §§ 3-501, et seq. (collectively, the
“l\/laryland Wage Laws”)

93. At all relevant times, Defendants have been, and continue to be, an “employer”
within the meaning of the l\/laryland Wage Laws, §§ 3-401(b) and 3-501(b). At all relevant
times, Defendants have employed, and/or continues to employ, “employee[sj,” including
Maryland Plaintiff, and each of the members of the prospective l\/laryland Class, as that term is
defined and interpreted pursuant to Md. Code Ann. Labor & Employment §§ 3-101, et seq., 3-
401, el' seq. and 3-501, et Seq.

94. The l\/Iaryland Wage Laws require that an employer, such as Defendants pay
overtime compensation to all nonexempt employees Maryland Plaintiff and members of the

Maryland Class are not exempt from overtime pay requirements under the l\/laryland Wage

Laws.

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95. At all relevant times, Defendants had a policy and practice of failing and refusing
to pay overtime pay to l\/iaryland Plaintiff and the Maryland Class l\/lembers for their hours
worked in excess of forty hours per workweek

96. As a result of Defendants’ failure to pay wages earned and due, and its decision to
withhold wages earned and due, to l\/laryland Plaintiff and the Maryland Class Members at a rate
not less than one and one~half times the regular rate of pay for work performed in excess of forty
hours in a workweek, Defendants have violated, and continue to willfully violate the Maryland
Wage Laws.

97. l\/laryland Plaintiff, on behalf of himself and members of the Maryland Class,
seeks damages in the amount of the respective unpaid wages earned and due at a rate of not less
than one and one~half times the regular rate of pay for work performed in excess of forty hours in
a workweek, as provided by the Maryland Wage and Hour Law, Md. Code Ann. Labor and
Employment § 3-427 and the l\/laryland Wage Payment and Collection Law, l\/ld. Code Ann.
Labor and Employment § 3-507.2(a); punitive damages; and such other legal and equitable relief
as the Court deems just and proper.

98. As a result of f)efendants’ failure to record, report, credit, and furnish to
Maryland Plaintiff and Maryland Class members their respective wage and hour records showing
all wages earned and due for all work performed, Defendants have failed to make, keep,
preserve, and furnish such records in violation of the l\/laryland Wage and I~Iour Law, Md. Code
Ann. Labor and Employment § 3-424.

99. Maryland Plaintiff, on behalf of himself and the l\/iaryland Class members, seeks
recovery of attorneys’ fees, costs, and expenses of this action to be paid by Defendants, as

provided by Md. Code Ann. Labor and Employment §§ 3-427(0) and 3-507.2(b).

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PRAYER FOR RELIEF

WHEREFORE, Plaintiffs, individually and on behalf of all other similarly situated

persons, pray for the following relief:

A.

Designation of this action as a collective action on behalf of the Collective and
prompt issuance of notice pursuant to 29 U.S.C. § 216(b);

Certification of the Maryland Class pursuant to Rule 23 of the Federal Rules of
Civil Procedure;

Designation of Plaintiff Harrison as l\/laryland Class Representative;

A declaratory judgment that the practices complained of herein are unlawful
under the FLSA;

An award of damages according to proof, including liquidated damages, to be
paid by Defendants;

Pre-judgment and post~judgment interest, as provided by law;
Attorneys’ fees and costs of action incurred herein, including expert fees; and
Such other relief as this Court deems just and proper.

DEMAND FOR TRIAL BY JURY

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a trial

by jury on all questions of fact raised by the Class and Collective Action Complaint.

Dated: March 5, 2015
New York, New York

Respectfully submitted,

By; MM di

Rachel Bien

 

OUTTEN & GOLDEN LLP
Justin M. Swartz

Rachel Bien

3 Park Avenue, 29th Floor
New York, New York 10016
Telephone: (212) 245-1000
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Exhibit A

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CONSENT TO JOIN FORM

l. l consent to opt-in to be a party plaintiff in a lawsuit against Defendant(s),
Merrill Lynch, and/or related entities and individuals in order to seek redress for violations of the
Fair Labor Standards Act, pursuant to 29 U.S.C. § 216(b).

2. l hereby designate the Shavitz Law Group, P.A. and Outten & Golden LLP to
represent me in bringing such claim, and to make decisions on my behalf concerning the
litigation and settlement l agree to be bound by any adjudication of this action by the Court,
whether it is favorable or unfavorable

3. l also consent to join any other related action against Defendant(s) or other
potentially responsible parties to assert my claim and for this Consent Form to be filed in any
such action.

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Signature

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Print Name

v

 

 

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Exhibit B

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CONSENT TO JOIN FORM

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/€1,

Signature

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Print Name

